        Case 19-15668-elf                  Doc 67 Filed 12/22/21 Entered 12/23/21 00:33:33                                             Desc Imaged
                                                 Certificate of Notice Page 1 of 3
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 19-15668-elf
Joseph Prince                                                                                                          Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 20, 2021                                               Form ID: 195                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 22, 2021:
Recip ID                 Recipient Name and Address
db                     + Joseph Prince, 778 Mill Road, Yardley, PA 19067-4500

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 22, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 20, 2021 at the address(es) listed
below:
Name                               Email Address
JEROME B. BLANK
                                   on behalf of Creditor Wells Fargo Bank N.A. paeb@fedphe.com

JOSHUA LOUIS THOMAS
                                   on behalf of Debtor Joseph Prince joshualthomas@gmail.com

KENNETH E. WEST
                                   ecfemails@ph13trustee.com philaecf@gmail.com

KEVIN G. MCDONALD
                                   on behalf of Creditor CITIMAE INC. bkgroup@kmllawgroup.com

REBECCA ANN SOLARZ
                                   on behalf of Creditor CITIMAE INC. bkgroup@kmllawgroup.com, rsolarz@kmllawgroup.com

THOMAS SONG
                                   on behalf of Creditor Wells Fargo Bank N.A. tomysong0@gmail.com
        Case 19-15668-elf       Doc 67 Filed 12/22/21 Entered 12/23/21 00:33:33   Desc Imaged
                                      Certificate of Notice Page 2 of 3
District/off: 0313-2                                 User: admin                        Page 2 of 2
Date Rcvd: Dec 20, 2021                              Form ID: 195                      Total Noticed: 1
United States Trustee
                          USTPRegion03.PH.ECF@usdoj.gov


TOTAL: 7
   Case 19-15668-elf            Doc 67 Filed 12/22/21 Entered 12/23/21 00:33:33                     Desc Imaged
                                      Certificate of Notice Page 3 of 3
                                      UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA



In re:                                                           : Chapter 13


Joseph Prince                                                    : Case No. 19−15668−elf
                   Debtor(s)


                                                    ORDER
                                 _____________________________________________

         AND NOW, this day , 20th of December, 2021 , it appearing that the trustee in the above

entitled matter has filed his report and that the trustee has performed all other duties required

in the administration of the debtor(s) estate, it is



         ORDERED that the trustee be discharged and relieved of any trust; and this case be, and
the same hereby is, closed.



                                                                 By The Court

                                                                 Eric L. Frank
                                                                 Judge , United States Bankruptcy Court




                                                                                                                  66
                                                                                                            Form 195
